8:12-cr-00418-JMG-SMB     Doc # 126   Filed: 05/22/14   Page 1 of 3 - Page ID # 379



               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:12-CR-418

vs.
                                               PRELIMINARY ORDER OF
CHRISTOPHER BATES, TYRONE                           FORFEITURE
FLOWERS, and QUINCY HUGHES,

                  Defendants.

       This matter is before the Court on the plaintiff's Motion for Issuance of
Preliminary Order of Forfeiture (filing 125). Bates and Flowers have pleaded
guilty to counts I and II of the indictment, which charged them with
violations of 21 U.S.C. §§ 841 and 846, and 18 U.S.C. §§ 924(c) and 2. Filings
34, 100, and 117. Hughes pleaded guilty to both counts of an information,
which similarly charged violations of 21 U.S.C. §§ 841 and 846, and 18 U.S.C.
§§ 924(c) and 2. Filings 103 and 109. Both the indictment and information
also contained forfeiture allegations seeking the forfeiture, pursuant to 21
U.S.C. § 853, of $1,500 in United States currency found in Bates' vehicle and
$108 found in Bates' wallet on November 29, 2012, on the basis that these
were used to facilitate the commission of the crimes charged or were derived
from proceeds obtained, directly or indirectly, as a result of those offenses.
Filings 34 and 103.
       The defendants have pleaded guilty to the crimes alleged and admitted
the forfeiture allegations. By virtue of pleading guilty to the charges and
admitting the forfeiture allegations, the defendants have forfeited their
interests in the property described above, and the plaintiff is entitled to
possession of the property pursuant to 21 U.S.C. § 853. Accordingly,

      IT IS ORDERED:

      1.    The plaintiff's Motion for Issuance of Preliminary Order of
            Forfeiture (filing 125) is granted.

      2.    Based upon the defendants' guilty pleas and admission of
            the forfeiture allegations of the indictment and
            information, the plaintiff is authorized to seize the $1,500
            and $108 in United States currency described above.
8:12-cr-00418-JMG-SMB   Doc # 126    Filed: 05/22/14   Page 2 of 3 - Page ID # 380




     3.    The defendants' interest in the property is forfeited to the
           plaintiff for disposition in accordance with law, subject to
           the provisions of 21 U.S.C. § 853(n)(1).

     4.    The property is to be held by the plaintiff in its secure
           custody and control.

     5.    Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall
           publish for at least 30 consecutive days on an official
           Internet government forfeiture site (www.forfeiture.gov)
           notice of this order, notice of publication evidencing the
           plaintiff's intent to dispose of the property in such manner
           as the Attorney General may direct, and notice that any
           person, other than the defendants, having or claiming a
           legal interest in the property must file a petition with the
           Court within 30 days of the final publication of notice or of
           receipt of actual notice, whichever is earlier.

     6.    Such published notice shall state that the petition referred
           to in paragraph 5, above, shall be for a hearing to
           adjudicate the validity of the petitioner=s alleged interest in
           the property, shall be signed by the petitioner under
           penalty of perjury, and shall set forth the nature and extent
           of the petitioner's right, title, or interest in the property
           and any additional facts supporting the petitioner=s claim
           and relief sought.

     7.    The plaintiff may also, to the extent practicable, provide
           direct written notice to any person known to have alleged
           an interest in the property as a substitute for published
           notice as to those persons so notified.

     8.    Upon adjudication of all third-party interests, this Court
           will enter a final order of forfeiture pursuant to
           21 U.S.C. § 853(n), in which all interests will be addressed.




                                     -2-
8:12-cr-00418-JMG-SMB   Doc # 126   Filed: 05/22/14   Page 3 of 3 - Page ID # 381



     Dated this 22nd day of May, 2014.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -3-
